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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                        :       Honorable Kevin McNulty

         v.                                     :       Crim. No. 19-658

DARRYL DANCY                                    :
                                                        ORDER FOR CONTINUANCE
                                                :


       This matter having been opened to the Court by Rachael A. Honig, Acting United States

Attorney for the District of New Jersey (Sophie E. Reiter, Assistant U.S. Attorney, appearing), and

defendant Darryl Dancy (Stacy Ann Biancamano, Esq., appearing), for an order granting a

continuance of the proceedings in the above-captioned matter; and the defendant being aware that

he has the right to have the matter brought to trial within seventy (70) days of the date of his

appearance before a judicial officer of this court pursuant to Title 18 U.S.C. Section 3161; and the

defendant, through the defendant’s attorney, having waived such rights and consented to the

continuance; and for good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

               1. Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2. Defendant, through counsel, has consented to the aforementioned continuance.

               3. The grant of a continuance will likely conserve judicial resources.


               4. Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the

                     ends of justice served by granting the continuance outweigh the best interests

                     of the public and the defendant in a speedy trial.

       WHEREFORE, on this 9th day of August, 2021;
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       ORDERED that the proceedings in the above-captioned matter are continued from the date

of this Order through October 1, 2021; and it is further

       IT IS FURTHER ORDERED that the period from the date of this Order through October

1, 2021 shall be excludable in computing time under the Speedy Trial Act of 1974.




                                           /s/ Kevin McNulty
                                      HONORABLE KEVIN MCNULTY
                                      United States District Judge




Form and entry
consented to:




SOPHIE E. REITER
Assistant U.S. Attorney



  /s/ Stacy Biancamano
STACY ANN BIANCAMANO, Esq.
Counsel for Defendant Daryl Dancy
